             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:19-cv-00185-MR


KENNY MARTIN,                    )
                                 )
                   Plaintiff,    )
                                 )
     vs.                         )                   ORDER
                                 )
HARRAH’S NC CASINO COMPANY, )
LLC and BROOKS ROBINSON,         )
                                 )
                   Defendants.   )
________________________________ )

     THIS MATTER is before the Court on the Defendants’ motion for the

admission of attorney Susan N. Eisenberg as counsel pro hac vice. [Doc.

34]. Upon careful review and consideration, the Court will allow the motion.

     IT IS, THEREFORE, ORDERED that the Defendants’ motion [Doc. 34]

is ALLOWED, and Susan N. Eisenberg is hereby granted pro hac vice

admission to the bar of this Court, payment of the required admission fee

having been received by the Clerk of this Court.
                               Signed: October 16, 2020
     IT IS SO ORDERED.




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